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              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 16-1192V
                                   Filed: August 31, 2021
* * * * * * * * * * * * * *                        *
                                                   *
MEGAN C. MCFADDEN,                                 *
                                                   *                UNPUBLISHED
                 Petitioner,                       *
                                                   *
v.                                                 *                Ruling on Entitlement; Influenza
                                                   *                (“flu”) Vaccine; Shoulder Injury
                                                   *                Related to Vaccine Administration
SECRETARY OF HEALTH                                *                (“SIRVA”).
AND HUMAN SERVICES,                                *
                                                   *
                 Respondent.                       *
                                                   *
* * * * * * * * * * * * * *                        *

Alexander Laufer, Esq., Eisenhower and Laufer, PC, Fairfax, VA, for petitioner.
Mark Hellie, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1
Roth, Special Master:

        On September 23, 2016, Megan C. McFadden (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program (“the Program”).2
Petitioner alleges that she received an influenza (“flu”) vaccination on September 28, 2013, and


1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on
the Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the
Decision will be available to anyone with access to the internet. However, the parties may object to the
Decision’s inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b),
each party has fourteen days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to
the public. Id.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§
300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be
to 42 U.S.C. § 300aa of the Act.
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thereafter suffered from a Shoulder Injury Related to Vaccination Administration (“SIRVA”).
See Petition at 1.

        Following an onset hearing, this Court issued a Ruling on Onset, finding that petitioner’s
shoulder pain began within 24 hours of her vaccination. See Ruling on Onset, ECF No. 60.
Thereafter, respondent filed an Amended Rule 4(c) Report advising that respondent will not
defend the matter. Resp. Am. Rep. at 1, ECF No. 68. Specifically, “[r]ecognizing that the Special
Master’s factual finding that onset of symptoms took place within 24 hours…respondent submits
that petitioner has otherwise satisfied the criteria set forth in the Vaccine Injury Table and the
Qualification and Aids to Interpretation for SIRVA. See 42 C.F.R. §§ 100.3(a)(XIV) and
(c)(10).” Id. at 2.

        A special master may determine whether a petitioner is entitled to compensation based
upon the record. An entitlement hearing is not required. §300aa-13; Vaccine Rule 8(d). In light
of respondent’s position not to defend the case and a review of the record, the undersigned f inds
that petitioner is entitled to compensation. This matter is now in the damages phase.

       IT IS SO ORDERED.

                                                    s/Mindy Michaels Roth
                                                    Mindy Michaels Roth
                                                    Special Master




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